                                        UNITED STATES DISTRICT COURT
                                         SOUTHERN DISTRICT OF TEXAS
                                             GALVESTON DIVISION

MARQUISE FOSTER,                                          §
Individually and on behalf                                §      Civil Action No. ________________
of all others similarly situated                          §
                                                          §
         Plaintiff,                                       §      JURY TRIAL DEMANDED
                                                          §
v.                                                        §
                                                          §
SITEL OPERATING CORPORATION,                              §      COLLECTIVE ACTION
                                                          §      PURSUANT TO 29 U.S.C. § 216(b)
         Defendant.                                       §


                PLAINTIFF’S ORIGINAL COLLECTIVE ACTION COMPLAINT


         Plaintiff Marquise Foster brings this action individually and on behalf of all current and former

hourly call-center employees (hereinafter “Plaintiff and the Putative Class Members” or “Plaintiff and

the FLSA Collective Members”) who worked for Sitel Operating Corporation (hereinafter

“Defendant” or “Sitel”), at any time from December 4, 2015 through the final disposition of this

matter, to recover compensation, liquidated damages, and attorneys’ fees and costs pursuant to the

provisions of Sections 207 and 216(b) of the Fair Labor Standards Act of 1938, as amended 29 U.S.C.

§ 216(b).

                                                      I.
                                                   OVERVIEW

         1.        This is a collective action to recover overtime wages, liquidated damages and other

applicable penalties brought pursuant to the Fair Labor Standards Act (“FLSA”), 29 U.S.C. §§ 201–

19.

         2.        Plaintiff and the Putative Class Members are those similarly situated persons who have

worked for Sitel in call centers throughout the United States at any time from December 4, 2015



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through the final disposition of this matter and have not been paid for all hours worked or the proper

amount of overtime in violation of federal law.

         3.        Specifically, Sitel has enforced a uniform company-wide policy wherein it improperly

required its non-exempt hourly call-center employees—Plaintiff and the Putative Class Members—to

perform work off-the-clock and without pay in violation of federal law.

         4.        Sitel’s illegal company-wide policy has caused Plaintiff and the Putative Class Members

to have hours worked that were not compensated and further created a miscalculation of their regular

rate(s) of pay for purposes of calculating their overtime compensation each workweek.

         5.        Although Plaintiff and the Putative Class Members routinely worked in excess of forty

(40) hours per workweek, Plaintiff and the Putative Class Members were not paid overtime of at least

one and one-half their regular rates for all hours worked in excess of forty (40) hours per workweek.

         6.         Sitel knowingly and deliberately failed to compensate Plaintiff and the Putative Class

Members for all hours worked and the proper amount of overtime each workweek on a routine and

regular basis during the relevant time period.

         7.        Plaintiff and the Putative Class Members did not and currently do not perform work

that meets the definition of exempt work under the FLSA.

         8.        Plaintiff and the Putative Class Members seek to recover all unpaid overtime,

liquidated damages, and other damages owed under the FLSA as a collective action pursuant to 29

U.S.C. § 216(b).

         9.        Plaintiff also prays that all similarly situated workers (Putative Class Members) be

notified of the pendency of this action to apprise them of their rights and provide them an opportunity

to opt-in to this lawsuit.




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                                                        II.
                                                   THE PARTIES

         10.       Plaintiff Marquise Foster (“Foster”) was employed by Sitel during the relevant time

period. Plaintiff Foster did not receive compensation for all hours worked or the correct amount of

overtime compensation for all hours worked in excess of forty (40) hours per workweek.1

         11.       The FLSA Collective Members are those current and former call-center employees

who were employed by Sitel anywhere in the United States at any time from December 4, 2015 through

the final disposition of this matter, and have been subjected to the same illegal pay system under which

Plaintiff Foster worked and was paid.

         12.       Defendant Sitel Operating Corporation (“Sitel”) is a foreign for-profit corporation and

can be served with process through its registered agent, Corporation Service Company, 2908

Poston Ave., Nashville TN 37203-1312.

                                                    III.
                                           JURISDICTION & VENUE

         13.       This Court has federal question jurisdiction over this case pursuant to 28 U.S.C. § 1331

as this is an action arising under 29 U.S.C. §§ 201–19.

         14.       This Court has personal jurisdiction over Sitel because the cause of action arose within

this district as a result of Sitel’s conduct within this District and Division.

         15.       Venue is proper in the Southern District of Texas because this is a judicial district

where a substantial part of the events or omissions giving rise to the claim occurred.

         16.       Specifically, Sitel maintains a working presence throughout the State of Texas.

         17.       Venue is therefore proper in this Court pursuant to 28 U.S.C. § 1391(b).




         1   The written consent of Marquise Foster is hereby attached as Exhibit “A.”



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                                                      IV.
                                               ADDITIONAL FACTS

         18.       Sitel operates call centers throughout the United States and holds itself out as a

“leading global outsourcing provider of customer experience management with 150 offices across 25

countries.”2

         19.       Plaintiff and the Putative Class Members’ job duties consisted of answering phone

calls made by Sitel’s clients’ customers, answering those customers’ inquiries, troubleshooting on

behalf of those customers, and generally assisting those customers.

         20.       Plaintiff Foster was employed by Sitel in customer service from approximately June

2012 until April 2017.

         21.       Plaintiff and the Putative Class Members are non-exempt employees that were (and

continue to be) paid by the hour.

         22.       Plaintiff and the Putative Class Members typically worked approximately forty (40)

“on-the-clock” hours per week.

         23.       In addition to their forty (40) “on-the-clock” hours, Plaintiff and the Putative Class

Members often worked up to six and one half (6.5) hours “off-the-clock” per week and were never

compensated for that time.

         24.       Plaintiff and the Putative Class Members have not been compensated for all of these

hours worked as a result of Sitel’s company-wide policy and practice of requiring all call-center

employees to be “call ready” – that is, to take their first phone call the moment their official shift starts

each day.




         2   https://www.sitel.com/cx-outsourcing/.

	

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         25.       Specifically, Plaintiff and the Putative Class Members were (and are) required to log-

in to their computer, open multiple different Sitel computer programs, log-in to each Sitel program,

and ensure that each Sitel program is running correctly, all of which can take up to one (1) hour to

have ready before they were (and are) able to take their first phone call, which comes in as soon as

their official shift starts.

         26.       During this start-up time, Plaintiff and the Putative Class Members were not

compensated although they were (and are) expected to have completed this process in advance of

their official start time(s).

         27.       As a result of Sitel’s company-wide policy and practice of requiring Plaintiff and the

Putative Class Members to perform these start-up tasks before their shifts begin, Plaintiff and the

Putative Class Members were not compensated for all hours worked, including all worked in excess

of forty (40) in a workweek at the rates required by the FLSA.

         28.       Sitel has employed other individuals who perform(ed) the same or similar job duties

under the same pay provisions as Plaintiff.

         29.       Sitel is aware of its obligation to pay for all hours worked and the proper amount of

overtime for all hours worked over forty (40), but has failed to do so.

         30.       Because Sitel did not pay Plaintiff and the Putative Class Members for all hours worked

and time and a half for all hours worked in excess of forty (40) in a workweek, Sitel’s pay policies and

practices violate the FLSA. 	

                                                          V.
                                                   CAUSE OF ACTION

A.       FLSA COVERAGE

         31.       All previous paragraphs are incorporated as though fully set forth herein.

         32.       The FLSA Collective is defined as:




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         ALL HOURLY CALL-CENTER EMPLOYEES WHO WERE EMPLOYED
         BY SITEL OPERATING CORPORATION, ANYWHERE IN THE
         UNITED STATES, AT ANY TIME FROM DECEMBER 4, 2015 THROUGH
         THE FINAL DISPOSITION OF THIS MATTER. (“FLSA Collective” or
         “FLSA Collective Members”)

         33.       At all times hereinafter mentioned, Sitel has been an employer within the meaning of

Section 3(r) of the FLSA, 29 U.S.C. § 203(r).

         34.       At all times hereinafter mentioned, Sitel has been an enterprise engaged in commerce

or in the production of goods for commerce within the meaning of Section 3(s)(1) of the FLSA, 29

U.S.C. § 203(s)(1), in that said enterprise has had employees engaged in commerce or in the production

of goods for commerce, or employees handling, selling, or otherwise working on goods or materials

that have been moved in or produced for commerce by any person, or in any closely related process

or occupation directly essential to the production thereof, and in that that enterprise has had, and has,

an annual gross volume of sales made or business done of not less than $500,000.00 (exclusive of

excise taxes at the retail level which are separately stated).

         35.       During the respective periods of Plaintiff and the FLSA Collective Members’

employment by Sitel, these individuals have provided services for Sitel that involved interstate

commerce for purposes of the FLSA.

         36.       In performing the operations hereinabove described, Plaintiff and the FLSA Collective

Members have been engaged in commerce or in the production of goods for commerce within the

meaning of §§ 203(b), 203(i), 203(j), 206(a), and 207(a) of the FLSA. 29 U.S.C. §§ 203(b), 203(i), 203(j),

206(a), 207(a).

         37.       Specifically, Plaintiff and the FLSA Collective Members are non-exempt employees of

Sitel who assisted customers throughout the United States. 29 U.S.C. § 203(j).




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         38.       At all times hereinafter mentioned, Plaintiff and the FLSA Collective Members have

been individual employees who were engaged in commerce or in the production of goods for

commerce as required by 29 U.S.C. §§ 206–07.

         39.       The proposed class of similarly situated employees, i.e. putative class members, sought

to be certified pursuant to 29 U.S.C. § 216(b), is defined in Paragraph 32.

         40.       The precise size and identity of the proposed class should be ascertainable from the

business records, tax records, and/or employee and personnel records of Sitel.

B.       FAILURE TO PAY WAGES AND OVERTIME UNDER THE FAIR LABOR
         STANDARDS ACT

         41.       Sitel has violated provisions of Sections 6, 7 and 15 of the FLSA, 29 U.S.C. §§ 206–7,

and 215(a)(2) by employing individuals in an enterprise engaged in commerce or in the production of

goods for commerce within the meaning of the FLSA for workweeks longer than forty (40) hours

without compensating such non-exempt employees for all of the hours they worked in excess of forty

(40) hours per week at rates at least one and one-half times the regular rates for which they were

employed.

         42.       Moreover, Sitel knowingly, willfully, and with reckless disregard carried out its illegal

pattern of failing to pay Plaintiff and other similarly situated employees for all hours worked and the

proper amount of overtime compensation for all hours worked over forth (40) each week. 29 U.S.C.

§ 255(a).

         43.       Sitel knew or should have known its pay practices were in violation of the FLSA.

         44.       Sitel is a sophisticated party and employer, and therefore knew (or should have known)

its pay policies were in violation of the FLSA.

         45.       Plaintiff and the FLSA Collective Members, on the other hand, are (and were)

unsophisticated employees who trusted Sitel to pay them according to the law.




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         46.       The decisions and practices by Sitel to not pay for all hours worked or the proper

amount of overtime for all hours worked over forty (40) was neither reasonable nor in good faith.

         47.       Accordingly, Plaintiff and the FLSA Collective Members are entitled to be paid for all

hours worked and overtime wages for all hours worked in excess of forty (40) hours per workweek

pursuant to the FLSA in an amount equal to one-and-a-half times their regular rate of pay, plus

liquidated damages, attorneys’ fees and costs.

C.       COLLECTIVE ACTION ALLEGATIONS

         48.       All previous paragraphs are incorporated as though fully set forth herein.

         49.       Pursuant to 29 U.S.C. § 216(b), this is a collective action filed on behalf of all of Sitel’s

employees throughout the United States who are similarly situated to Plaintiff with regard to the work

they performed and the manner in which they were paid.

         50.       Other similarly situated employees of Sitel have been victimized by Sitel’s patterns,

practices, and policies, which are in willful violation of the FLSA.

         51.       The FLSA Collective Members are defined in Paragraph 32.

         52.       Sitel’s failure to pay Plaintiff and the FLSA Collective Members for all hours worked

and overtime compensation at the rates required by the FLSA, results from generally applicable

policies and practices of Sitel, and does not depend on the personal circumstances of Plaintiff or the

FLSA Collective Members.

         53.       Thus, Plaintiff’s experiences are typical of the experiences of the FLSA Collective

Members.

         54.       The specific job titles or precise job requirements of the various FLSA Collective

Members do not prevent collective treatment.




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         55.       All of the FLSA Collective Members—regardless of their specific job titles, precise job

requirements, rates of pay, or job locations—are entitled to be paid for all hours worked and at the

proper overtime rate for all hours worked in excess of forty (40) hours per workweek

         56.       Although the issues of damages may be individual in character, there is no detraction

from the common nucleus of liability facs.

         57.       Absent a collective action, many members of the proposed FLSA Collective likely will

not obtain redress of their injuries and Sitel will retain the proceeds of its violations of the FLSA.

         58.       Moreover, individual litigation would be unduly burdensome to the judicial system.

Concentrating the litigation in one forum will promote judicial economy and parity among the claims

of the individual members of the classes and provide for judicial consistency.

         59.       Accordingly, the FLSA Collective of similarly situated plaintiffs should be certified as

defined as in Paragraph 32 and notice should be promptly sent.

                                                         VI.
                                                   RELIEF SOUGHT

         60.       Plaintiff respectfully prays for judgment against Sitel as follows:

                   a.        For an Order certifying the FLSA Collective as defined in Paragraph 32 and

requiring Sitel to provide the names, addresses, e-mail addresses, telephone numbers, and social

security numbers of all putative collective action members;

                   b.        For an Order approving the form and content of a notice to be sent to all

putative FLSA Collective Members advising them of the pendency of this litigation and of their rights

with respect thereto;

                   c.        For an Order pursuant to Section 16(b) of the FLSA finding Sitel liable for

unpaid back wages due to Plaintiff (and those FLSA Collective Members who have joined in the suit),

and for liquidated damages equal in amount to the unpaid compensation found due to Plaintiff (and

those FLSA Collective Members who have joined in the suit);

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                   d.        For an Order awarding the costs and expenses of this action;

                   e.        For an Order awarding attorneys’ fees;

                   f.        For an Order awarding pre-judgment and post-judgment interest at the highest

rates allowed by law;

                   g.        For an Order awarding Plaintiff Foster a service award as permitted by law;

                   h.        For an Order compelling the accounting of the books and records of Sitel, at

Sitel’s own expense; and

                   i.        For an Order granting such other and further relief as may be necessary and

appropriate.


Date: December 4, 2018                                   Respectfully submitted,

                                                         ANDERSON ALEXANDER, PLLC

                                                   By:   /s/ Clif Alexander
                                                         Clif Alexander
                                                         Federal I.D. No. 1138436
                                                         Texas Bar No. 24064805
                                                         clif@a2xlaw.com
                                                         Austin W. Anderson
                                                         Federal I.D. No. 777114
                                                         Texas Bar No. 24045189
                                                         austin@a2xlaw.com
                                                         Lauren E. Braddy
                                                         Federal I.D. No. 1122168
                                                         Texas Bar No. 24071993
                                                         lauren@a2xlaw.com
                                                         Alan Clifton Gordon
                                                         Federal I.D. No. 19259
                                                         Texas Bar No. 00793838
                                                         cgordon@a2xlaw.com
                                                         Carter T. Hastings
                                                         Federal I.D. No. 3101064
                                                         Texas Bar No. 24101879
                                                         carter@a2xlaw.com
                                                         George Schimmel
                                                         Federal I.D. No. 2338068
                                                         Texas Bar No. 24033039
                                                         geordie@a2xlaw.com

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                                                         819 N. Upper Broadway
                                                         Corpus Christi, Texas 78401
                                                         Telephone: (361) 452-1279
                                                         Facsimile: (361) 452-1284

                                                         MORGAN & MORGAN, P.A.

                                                   By:   /s/ C. Ryan Morgan
                                                         C. Ryan Morgan, Esq. (Pro Hac Vice Anticipated)
                                                         FBN 0015527
                                                         N. Orange Ave., 16th Floor
                                                         P.O. Box 4979
                                                         Orlando, FL 32802-4979
                                                         Telephone:    (407) 420-1414
                                                         Facsimile:    (407) 867-4791
                                                         Email: rmorgan@forthepeople.com

                                                   By:   /s/ Paul M. Botros
                                                         Paul M. Botros, Esq. (Pro Hac Vice Anticipated)
                                                         FBN 0063365
                                                         600 N. Pine Island Road, Suite 400
                                                         Plantation, FL 33324
                                                         Telephone:      (954) 327-5352
                                                         Facsimile:      (954) 327-3017
                                                         Email: pbotros@forthepeople.com

                                                         Attorneys for Plaintiff and the Putative
                                                         Class Members




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